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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

RONALD H. CLARK, et al.
Plaintiffs

v.

]O_HN P. VISIOLI

Defendant

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Civil No.: 1:15-CV~02254-ELH

STIPULATION OF DISMISSAL VVITH PRE¥UDICE

 

Plaintiffs and Defendant, by and through their undersigned attorneysJr hereby

stipulate and agree that this ease shall be dismissed With prejudice

 

Cocke "sville, Mary]and 21030
Attomeys for Plaintijfs

 

 

  

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Fede» iBar NO. 09769

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CERTIFICATE OF SERVICE
l HEREBY CERTIFY that on this jj day of May, 2017, a copy of the foregoing
Stipulation of Dismissal With Prejudice Was Served On all counsel of record by electronic
submission via CM/ECF in accordance With the Federal Rules of Civil Procedure and the

Local Rules of the United States District Court of the District Of Maryland:

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